
Deaderick, J.,
delivered the opinion of the court.
This is an action of unlawful entry and detainer begun before three justices of the peace of Henry county, by Phillips against Jones. Judgment was given in his favor, whereupon Jones appealed to the Circuit Court, and judgment having been rendered in favor of Phillips, Jones appealed to this court.
Several grounds of reversal are insisted on here. It seems that A. Phillips, the plaintiff, is one of several tenants in common who are not formally joined as co-plaintiffs. There is nothing in this objection. Any one tenant in common may sue in ejectment or in forcible entry and detainer, though his co-tenants do not join in the action, as was held in the case of Turner v. Lumbrick, Meigs R., 11.
It is also insisted, upon the authority of the case of White v. Settle, 11 Hum., 449, that the plaintiff can recover no more than he wras dispossessed of before • suit brought. That case was reversed because the plaintiff was permitted to prove an eviction of part of the land after suit brought, and the court *564held that before he could máintain the action he must have been out of possession. This was correct, but in this case there was no evidence of a subsequent eviction, and although the small part of the premises left in plaintiff's possession was included within the boundaries of the part of which he had been dispossessed, and he had no right to a judgment to recover of defendant land of which he was not dispossessed, it operated no injury to defendant, and was a technical, rather than a substantial error, for which this court will not reverse. We do not think there is any error in the charge, and affirm the judgment.
